         Case 6:24-cv-01558-MC          Document 1       Filed 09/13/24      Page 1 of 29




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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                   EUGENE DIVISION

CONFEDERATED TRIBES OF COOS, LOWER Case No.:
UMPQUA AND SIUSLAW INDIANS,
                                   COMPLAINT
                    Plaintiff,
       v.

BUREAU OF OCEAN ENERGY
MANAGEMENT,

                               Defendant.
.

                                        INTRODUCTION

       1.      The Confederated Tribes of Coos, Lower Umpqua and Siuslaw Indians (“Tribe”

or “CTCLUSI”) brings this case challenging Defendant Bureau of Ocean Energy Management’s

(“BOEM” or “Defendant”) environmental analysis and decision to proceed with the sale of

leases and associated site characterization and site assessment activities for the private

development of massive offshore wind energy facilities along two portions of the Oregon Coast

near Coos Bay, Oregon and Brookings, Oregon.

       2.      Specifically, the Tribe brings this action for declaratory and injunctive relief

against the BOEM for issuing its August 2024 Final Environmental Assessment (“EA”), the




COMPLAINT - 1
           Case 6:24-cv-01558-MC         Document 1       Filed 09/13/24      Page 2 of 29




Finding of No Significant Impact (“FONSI”) 1, and the September 3, 2024 Final Sale Notice

(“FSN”)2 for the Commercial Wind Lease Issuance on the Pacific Outer Continental Shelf,

Offshore Oregon that violates 5 U.S.C. § 701 et seq. of the Administrative Procedure Act

(“APA”), the National Environmental Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq., the NEPA

implementing regulations developed by the Council on Environmental Quality (“CEQ”), 40

C.F.R. §§ 1500-1508, the National Historic Preservation Act (“NHPA”), 54 U.S.C. § 300101 et

seq., and the NHPA implementing regulations developed by the Advisory Council on Historic

Preservation (“ACHP”), 36 C.F.R. Part 800.


                                     JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question), 28 U.S.C. § 1361 (action to compel an officer of the United States to perform her/his

duty), and 28 U.S.C. §§ 2201-2202 (“creation of remedy” and “further relief” provisions

establishing power to issue declaratory judgments in case of actual controversy). The Tribe has a

right to bring this action pursuant to the Administrative Procedure Act (“APA”), 5 U.S.C. §§

701-706.

        4.      Venue is properly vested in this Court under 28 U.S.C. § 1391(e) because the

Tribe resides in this district, a substantial part of the events or omissions giving rise to the claims

herein occurred within this judicial district, and affected waters and resources in question are

located in this district.




1
  The EA and FONSI are available at https://www.boem.gov/renewable-energy/state-
activities/commercial-wind-lease-issuance-pacific-outer-continental-shelf-0.
2
  Published in the Federal Register at 89 Fed. Reg. 71398 (Sep. 3, 2024).


COMPLAINT - 2
         Case 6:24-cv-01558-MC           Document 1       Filed 09/13/24     Page 3 of 29




                                          THE PARTIES

       5.      Plaintiff   CONFEDERATED TRIBES OF COOS, LOWER UMPQUA AND

SIUSLAW INDIANS is a federally recognized, sovereign Indian Nation with authority and

jurisdiction over its citizens, its territory, and resources located along the Oregon Coast.

       6.      The Tribe is made up of three tribes (four bands): two bands of Coos Tribes:

Hanis Coos (Coos Proper), Miluk Coos; Lower Umpqua Tribe; and Siuslaw Tribe.

       7.      Since time immemorial, the Tribe and its members have resided on the Oregon

Coast and relied upon its abundant resources.




       8.      As depicted above, the Tribe’s ancestral homeland encompasses approximately

1.6 million acres of resource-rich lands lying along a 75-mile-long section of the Oregon coast



COMPLAINT - 3
          Case 6:24-cv-01558-MC          Document 1       Filed 09/13/24     Page 4 of 29




and extending inland across the Coast Range to Oregon’s interior valleys. The Tribe’s ancestors

were the stewards and caretakers of all these lands since time immemorial.

         9.      Tribal oral histories attribute the Ocean with the creation of the World and of

Tribal people.

         10.     The Ocean and much of the associated shoreline areas are of traditional religious

and cultural importance to Tribe. The Tribe’s religious beliefs, traditional practices, fishing, first

foods and relations are interconnected and influenced by all that is encompassed in the broader

Ocean.

         11.     The Tribe and its members retain the right and continue to practice their culture,

religion, and traditional lifeways within their ancestral Territory, including the Ocean. Tribal

members value and attribute significant cultural and religious significance to the Ocean and its

untouched Ocean viewscapes (the view or prospect from a particular place).

         12.     Tribal traditions include a respect and reverence for natural law and create a

powerful voice for responsible environmental stewardship. This is well illustrated by the Tribe’s

Natural Resource and Culture Department, which is committed to the preservation, protection,

enhancement, and management of the Tribe’s natural resources, as well as being dedicated to

restoring the environment within traditional cultural and historical boundaries of the Tribe to

improve the quality of life and provide direct social and economic benefit for the Tribe and its

people. The Tribe remains an important part of the surrounding community and seeks to protect

the abundance of traditional and cultural resources within the Ocean and associated shoreline

areas.

         13.     The Tribe has two casinos in Coos Bay and Florence, Oregon that provide

valuable jobs to Tribal members and local citizens and generate income for the Tribal




COMPLAINT - 4
         Case 6:24-cv-01558-MC         Document 1         Filed 09/13/24   Page 5 of 29




Government, which is used to provide services to Tribal members and fund a variety of

programs, including environmental and cultural resource programs.

       14.     Visitors to the casinos are drawn to the area by the untouched and natural beauty

of the Pacific Ocean, its beaches, and its viewsheds.

       15.     The Tribe and its members’ use of the Ocean and its resources would be directly

impacted by BOEM’s actions.

       16.     The Tribe would suffer economic harm from BOEM’s actions.

       17.     Defendant BUREAU OF OCEAN ENERGY MANAGEMENT is a federal

agency within the Department of Interior. BOEM governs the leasing and management of

offshore renewable energy projects. See 30 C.F.R. § 585.200-234. BOEM issued the EA,

FONSI, and FSN at issue in this matter.

                    STATUTORY AND REGULATORY FRAMEWORK

A.     National Environmental Policy Act

       18.     NEPA “is our basic national charter for protection of the environment.” N. Idaho

Cmty. Action Network v. U.S. Dep’t of Transp., 545 F.3d 1147, 1153 (9th Cir. 2008) (quoting Ctr.

for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172, 1185 (9th Cir.

2008)). The statute “declares a broad national commitment to protecting and promoting

environmental quality.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348 (1989).

An agency’s obligation, under NEPA, to obtain and disclose environmental information during the

public review process is central to NEPA’s core principle of “democratic decisionmaking.”

Or. Nat. Desert Ass’n v. Bureau of Land Mgmt., 625 F.3d 1092, 1121 n.24, 1122 (9th Cir. 2010).

       19.     NEPA establishes a “national policy [to] encourage productive and enjoyable

harmony between man and his environment.”               NEPA is intended to reduce or eliminate




COMPLAINT - 5
           Case 6:24-cv-01558-MC         Document 1       Filed 09/13/24      Page 6 of 29




environmental damage and to promote “the understanding of the ecological systems and natural

resources important to” the United States. 42 U.S.C. § 4321.

       20.     NEPA’s purpose is twofold: first, to ensure that federal agencies undertaking a

major federal action take a “hard look” at a proposed project’s environmental impacts before

deciding how to proceed, and second, to ensure that relevant information about the impacts of a

proposed project and its alternatives is made available to members of the public, in order to provide

a meaningful opportunity for their comment and participation in the federal decision-making

process.

       21.     Federal agencies fulfill their NEPA obligations in one of three ways: by preparing an

environmental impact statement, by preparing an environmental assessment and Finding of No

Significant Impact, or by determining the project is subject to a categorical exclusion.

       22.     NEPA requires that federal agencies must take a “hard look” at identifying and

evaluating potential adverse environmental impacts. Neighbors of Cuddy Mountain v. U.S. Forest

Serv., 137 F.3d 1372, 1376 (9th Cir. 1998). Courts will set aside a NEPA document as arbitrary or

capricious if the agency can identify no “rational connection between the facts found and the choice

made;” that is, if the “explanation for its decision [ran] counter to the evidence before the agency or

is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       23.     The CEQ has promulgated regulations implementing NEPA, which are binding on

all federal agencies. 40 C.F.R. § 1500 et seq. An agency's NEPA procedures must be consistent with

the CEQ regulations.




COMPLAINT - 6
         Case 6:24-cv-01558-MC            Document 1       Filed 09/13/24    Page 7 of 29




        24.     Essential to an agency’s obligations under NEPA is the duty to ensure that “high

quality” information is available to the public before decisions are made and before actions are

taken. 40 C.F.R. §1500.1(b).

        25.     CEQ regulations define the “[e]ffects or impacts” that agencies must consider in the

NEPA process to include “ecological (such as the effects on natural resources and on the

components, structures, and functioning of affected ecosystems), aesthetic, historic, cultural,

economic, social, or health, such as disproportionate and adverse effects on communities with

environmental justice concerns, whether direct, indirect, or cumulative. Effects also include effects

on Tribal resources and climate change-related effects, including the contribution of a proposed

action and its alternatives to climate change, and the reasonably foreseeable effects of climate

change on the proposed action and its alternatives. Effects may also include those resulting from

actions which may have both beneficial and adverse effects, even if on balance the agency believes

that the effects will be beneficial” 40 C.F.R. § 1508.1(i)(4).

        26.     NEPA requires agencies to analyze cumulative effects, which are defined as “the

impact on the environment which results from the incremental impact of the action when added to

other past, present, and reasonably foreseeable future actions regardless of what agency (Federal or

non-Federal) or person undertakes such other actions. Cumulative impacts can result from

individually minor but collectively significant actions taking place over a period of time.” 40

C.F.R. § 1508.1(i)(3).

        27.     NEPA regulations require that an agency “integrate the NEPA process with other

planning and authorization processes at the earliest reasonable time to ensure that agencies consider

environmental effects in their planning and decisions, to avoid delays later in the process, and to

head off potential conflicts.” 40 C.F.R. §1501.2(a).




COMPLAINT - 7
         Case 6:24-cv-01558-MC           Document 1        Filed 09/13/24     Page 8 of 29




       28.     CEQ regulations provide that agencies should prepare an EA for proposed actions

that are not categorically excluded if those actions are “not likely to have significant effects or when

the significance of the effects is unknown[.]” 40 C.F.R. § 1501.5(a). The EA may assist the agency

in determining whether to prepare a full-fledged EIS or whether to issue a finding of no significant

impact. 40 C.F.R. § 1501.5(c)(1).

       29.     If the federal action may significantly affect the environment, the agency must

prepare an Environmental Impact Statement (“EIS”). Idaho Sporting Cong. v. Thomas, 137 F.3d

1146, 1149 (9th Cir. 1998). Whether an action is significant requires consideration of the “context”

and “intensity” factors. 40 C.F.R. § 1501.3(d); Ocean Advocates v. U.S. Army Corps of Eng’rs, 402

F.3d 846, 865 (9th Cir. 2005). For context, an agency must “consider the characteristics of the

geographic area, such as proximity to unique or sensitive resources or communities with

environmental justice concerns. Depending on the scope of the action, agencies should consider the

potential global, national, regional, and local contexts as well as the duration, including short-and

long-term effects.” 40 C.F.R. § 1501.3(d)(1). For intensity, the agency must consider a number of

factors, including the unique characteristics of the geographic area such as proximity to historic or

cultural resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or ecologically

critical areas; the degree to which the potential effects on the human environment are highly

uncertain; and the degree to which the action may adversely affect communities with environmental

justice concerns. Id.

       30.     “NEPA requires that an environmental analysis for a single project consider the

cumulative impacts of that project together with all past, present and reasonably foreseeable future

actions.” See Idaho Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957, 973 (9th Cir. 2002). See also

Great Basin Res. Watch v. Bureau of Land Mgmt., 844 F.3d 1095, 1104 (9th Cir. 2016) (“In a




COMPLAINT - 8
         Case 6:24-cv-01558-MC           Document 1       Filed 09/13/24      Page 9 of 29




cumulative impact analysis, an agency must take a ‘hard look’ at all actions that may combine with

the action under consideration to affect the environment.”) (quoting Te–Moak Tribe of W. Shoshone

of Nev. v. U.S. Dep't of Interior, 608 F.3d 592, 603 (9th Cir. 2010)) (cleaned up).

       31.     NEPA Section 102(2)(E) requires agencies to “study, develop, and describe

appropriate alternatives to recommended courses of action in any proposal which involves

unresolved conflicts concerning alternative uses of available resources.” 42 U.S.C. § 4332(2)(H).

Section 102(2)(H) applies to both EAs and EISs, so an EA must include “appropriate

alternatives” when a proposal involves unresolved conflicts concerning alternatives uses of

available resources. EAs must also include a “no action” alternative in addition to the preferred

alternative, as well as a range of appropriate alternatives. 40 C.F.R. § 1501.5(c)(2)(ii) (citing

Section 102(2)(H)).

B.     National Historic Preservation Act

       32.     The NHPA requires federal agencies to “take into account the effect of the

undertaking on any historic property.” 54 U.S.C. § 306108; Morongo Band of Mission Indians v.

FAA, 161 F.3d 569, 581 (9th Cir.1998). Similar to NEPA, the NHPA “is a stop, look, and listen

provision that requires each federal agency to consider the effects of its programs.” Muckleshoot

Indian Tribe v. U.S. Forest Service, 177 F.3d 800, 805 (9th Cir. 1999); see also Illinois

Commerce Comm’n v. ICC, 848 F.2d 1246, 1261 (D.C. Cir. 1988); United States v. 0.95 Acres of

Land, 994 F.2d 696, 698 (9th Cir. 1993) (Section 106 is “similar to NEPA except that it requires

consideration of historic sites, rather than the environment.”).

       33.     An agency must initiate the 106 process early in the planning processes. 36

C.F.R. § 800.1(c). Except for certain nondestructive project planning activities, the 106 process

must be completed prior to the issuance of a decision. Id. Guidance emphasizes that “Section




COMPLAINT - 9
        Case 6:24-cv-01558-MC           Document 1       Filed 09/13/24     Page 10 of 29




106 review should be complete prior to issuance of a federal decision, so that a broad range of

alternatives may be considered during the planning process.”3

       34.     Courts, likewise, have consistently held that the NHPA “does not itself require a

particular outcome, but rather ensures that the relevant federal agency will, before approving

funds or granting a lease to the undertaking at issue, consider the potential impact of that

undertaking on surrounding historic places.” Business and Residents of Alliance of East Harlem

v. HUD, 430 F.3d 584, 591 (2d Cir. 2005) (citations omitted); see also Montana Wilderness

Ass’n v. Fry, 310 F.Supp.2d 1127, 1153 (D. Mont. 2004) (agency violated the NHPA by failing

to complete process prior to selling leases); Pit River Tribe v. U.S. Forest Service, 469 F.3d 768,

774-75 (9th Cir. 2006) (agencies must consider impacts to historic sites before extending leases,

later review under the NHPA cannot cure the earlier violation).

C.     Administrative Procedure Act

       35.      The APA, 5 U.S.C §§701-706, provides for judicial review of federal agency

determinations such as those at issue here. The APA requires a reviewing court to hold unlawful

and set aside any agency action found to be arbitrary capricious, an abuse of discretion, or otherwise

not in accordance with law. 5 U.S.C § 706(2)(A).

D.     Declaratory Judgment Act

       36.      The Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, authorizes “any court of the

United States” to “declare the rights and other legal relations of any interested party seeking such

declaration.




3
 Advisory Council on Historic Preservation, Integrating NEPA and Section 106, available at
https://www.achp.gov/ integrating_nepa_106.


COMPLAINT - 10
       Case 6:24-cv-01558-MC          Document 1         Filed 09/13/24    Page 11 of 29




                    FACTUAL AND PROCEDURAL BACKGROUND

  A. The Oregon Coast and Significance to the Tribe

      37.     As stated above, the land and waters of the Oregon coast have been used and

occupied by the Tribe and its members since time immemorial. Prior to European contact, the

Tribe and its members relied predominantly on fishing, hunting, gathering, and trading for

sustenance.

      38.     Their natural resource utilization occurred in a wide variety of environments,

including sand spits, saltwater bays, open ocean areas, tidal and intertidal estuaries, lake

shorelines, river mouths, and their ocean confluences.

      39.     The diets of the Tribal members primarily consisted of salmon, shellfish, plants,

and land mammals. The Tribe was (and continued to be) renowned for their maritime lifestyles,

elaborate technology, high population densities, sophisticated art and architectural traditions,

and sociopolitical complexity.

      40.     Archeological evidence of subsistence activities can be found along the Oregon

coastline in the form of shell middens, fishing weirs, food processing sites, villages, and

seasonal occupation camps.

      41.     Following the peak of the last ice age about 21,000 years ago, the large

continental ice sheets began to retreat, causing sea levels to rise by an average of about 430 feet.

When the ice was prominent and sea levels were lower, large expanses of the continental shelf

that today are submerged were then exposed. These exposed areas were utilized by the Tribe

and its members.

      42.     As the melting progressed and sea levels rose, archaeological sites along the coast

were submerged and continue to exist today under the surface of the water.




COMPLAINT - 11
       Case 6:24-cv-01558-MC           Document 1       Filed 09/13/24      Page 12 of 29




      43.     The lifestyle and culture of the Tribe is tied to Oregon’s rich coastal and marine

waters, which support countless species of seabirds, marine mammals, fisheries, aquatic plants,

and dramatic landscapes. It is also home to underwater kelp forests, tide pools, and rocky reefs

that offer important habitat for thousands of fish, marine mammals, and invertebrate species.

      44.     Oregon’s coastal and ocean ecosystems are facing increasing threats, including

ocean warming, acidification, overfishing, pollution and development. Increasing human uses

of the Ocean and coasts have lead to steep declines in fish and wildlife populations and habitat

loss that threatens the long-term sustainability of biological resources.

      45.     The Oregon Coast contains the Cascadia Subduction Zone, which is a 700-mile

fault that runs from northern California up to British Columbia and is about 70-100 miles off the

shoreline. There have been 43 earthquakes in the last 10,000 years within this fault. Oregon has

the potential for a 9.0+ magnitude earthquake caused by the Cascadia Subduction Zone and a

resulting tsunami of up to 100 feet in height that will impact the coastal area.

      46.     The South Oregon Coast region, which includes the Tribe’s ancestral territory and

areas that will be impacted by BOEM’s proposed offshore wind development, extends from

Florence, Oregon to the California border. This area is distinct from the North and Central

Coast regions because of its mountainous nature, due to tectonic uplift and terrane accretion in

ancient times. Much of the coastline in this region is made up of sea cliffs and miles of beaches.

      47.     The area today is home to a thriving tourism economy and commercial fishing

industry. Every year, thousands of tourists come to the area and spend millions of dollars to hike

on its beaches, observe whales and other marine mammals, enjoy the views of the ocean, stay in

historic properties, frequent the Tribe’s businesses, and experience the untouched views of the

Ocean viewscape.




COMPLAINT - 12
        Case 6:24-cv-01558-MC           Document 1     Filed 09/13/24      Page 13 of 29




       48.     The Tribe’s two casinos benefit from tourists that are drawn to the area and

revenue from these facilities is used to support all aspects of the Tribal government and services

to its members, including Tribal social service and environmental restoration programs.

       49.     With an economy based largely on tourism, natural resource restoration and

management, and commercial fishing, the area cannot sustain a drastic change in its workforce

and culture, which will occur because of offshore wind projects. Small family businesses will

face hardship and may be forced to close, which will eliminate services tourists rely on.

Commercial fisheries will face increased safety hazards, lower yields, and will most likely be

unable to fish productively in the Project area. With a loss in tourism, business at the Tribe’s

casinos will decline in value and demand, and the spirit, culture, and rich history of the Oregon

Coast will be significantly impacted.

       50.     In addition, the loss of species and impacts to Ocean viewshed will irreversibly

impact Tribal cultural, religion, and spirituality.

B.     Federal Offshore Wind Program

       51.     In 1953, Congress enacted the Outer Continental Shelf Lands Act (“OCSLA”),

authorizing the Secretary of the Interior to oversee mineral exploration and development on the

Outer Continental Shelf by granting oil and gas leases through a competitive bid process

managed by the Department of Interior. 43 U.S.C. §§ 1331-1356.

       52.     Originally, the Act “establishe[d] a procedural framework under which Interior

may lease areas of the [Outer Continental Shelf] for purposes of exploring and developing the oil

and gas deposits of the [Outer Continental Shelf ]’s submerged lands.” Ctr. for Biological

Diversity v. U.S. Dep’t of Interior, 563 F.3d 466, 472 (D.C. Cir. 2009).




COMPLAINT - 13
        Case 6:24-cv-01558-MC          Document 1       Filed 09/13/24     Page 14 of 29




       53.    In 2005, Congress amended OCSLA, placing regulatory authority of renewable

energy projects in the Minerals Management Service, an agency within the Department of

Interior, and authorizing the Minerals Management Service to grant leases for offshore

renewable energy projects. 43 U.S.C. § 1337(p)(1)(C).

       54.    In the 2005 amendment, Congress declared the policy underlying the Act:

       It is hereby declared to be the policy of the United States that . . . this subchapter
       shall be construed in such a manner that the character of the waters above the outer
       Continental Shelf as high seas and the right to navigation and fishing therein shall
       not be affected; . . . the outer Continental Shelf is a vital national resource reserve
       held by the Federal Government for the public, which should be made available for
       expeditious and orderly development, subject to environmental safeguards, in a
       manner which is consistent with the maintenance of competition and other national
       needs; . . . since exploration, development, and production of the minerals of the
       outer Continental Shelf will have significant impacts on coastal and non-coastal
       areas of the coastal States, and on other affected States, and, in recognition of the
       national interest in the effective management of the marine, coastal, and human
       environments. . . .

43 U.S.C. § 1332.

       55.    On October 1, 2011, the Department of Interior created BOEM to take the place

of the Minerals Management Service and transferred all regulatory authority of the Minerals

Management Service to BOEM. BOEM became “responsible for managing development of the

nation’s offshore resources in an environmentally and economically responsible way.” 4 BOEM

also became responsible for leasing, plan administration, environmental studies, NEPA analysis,

resource evaluation, economic analysis, and the renewable energy program.

       56.    In March 2021, the Biden Administration established a policy of producing thirty

(30) Gigawatts of offshore wind power by 2030:

       To position the domestic offshore wind industry to meet the 2030 target, DOI’s



4
  Bureau of Ocean Energy Management, Reorganization of the Former MMS,
https://www.boem.gov/about-boem/reorganization/reorganization-former-mms.


COMPLAINT - 14
        Case 6:24-cv-01558-MC          Document 1   Filed 09/13/24    Page 15 of 29




       Bureau of Ocean Energy Management . . . plans to advance new lease sales and
       complete review of at least 16 Construction and Operations Plans (COPs) by 2025,
       representing more than 19 GW of new clean energy for our nation. . . . Achieving
       this target also will unlock a pathway to 110 GW by 2050. . . . 5

       57.     BOEM has demonstrated a biased and prejudged political decision to develop

offshore wind energy, notwithstanding existing laws and regulations requiring due process and

careful consideration of its harmful impacts. For example, in 2022, BOEM and NOAA entered

into a memorandum of agreement to “support[] the goal…to responsibly deploy 30 gigawatts of

energy production on the Outer Continental Shelf by 2023….”6 The memorandum proclaims the

intent of BOEM and NOAA to “proactively refine administrative procedures” without mention

of existing environmental review obligations.7

       58.     On September 5, 2024, the Interior Department announced that it had approve a

tenth offshore wind project acknowledging “the Biden-Harris administration’s commitment to

expedite the federal permitting process.”8

       59.     In March 2023, the Administration announced its intent to develop “Wind Energy

Areas off Every Coast” and to hold “up to seven offshore wind lease sales by 2025,” which

would include “offshore Oregon.”9




5
  Biden Administration, Fact Sheet: Biden Administration Jumpstarts Offshore Wind Energy
Projects to Create Jobs (March 29, 2021), https://www.whitehouse.gov/briefing-
room/statements-releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-
energy-projects-to-create-jobs/.
6
  Memorandum of Understanding Between NOAA, NMFS, BOEM and RODA (March 25,
2019), https://www.boem.gov/sites/default/files/documents//NOAA-BOEM-MOU.pdf).
7
  Id. at 1.
8
  Department of Interior, Biden-Harris Administration Marks Major Milestones for Offshore
Wind, Approves Tenth Project (September 5, 2025), https://www.doi.gov/pressreleases/biden-
harris-administration-marks-major-milestones-offshore-wind-approves-tenth. (Emphasis added).
9
  Biden Administration, FACT SHEET: Biden-⁠Harris Administration Continues to Advance
American Offshore Wind Opportunities (March 29, 2024),


COMPLAINT - 15
        Case 6:24-cv-01558-MC          Document 1      Filed 09/13/24    Page 16 of 29




       60.       In a meeting that occurred with representatives of West Coast Tribes on June 6,

2024, BOEM Director Elizabeth Klein admitted that she had specific political direction from the

White House to complete offshore wind projects, stating, “The President has made clear the

climate crisis is real, the government has a responsibility to address it and has set goals to

address a clean energy transition. My job is to implement the President’s direction.” This

message was repeated by Director Klein during a meeting with the Tribe on July 31, 2024.

       61.       Important questions regarding potential impacts of offshore wind remain

unresolved, including potential impacts to tribal rights, the marine ecosystem, commercial and

recreational fishing, coastal communities, utility power costs, and more. In previous BOEM

activities exploring offshore wind leasing areas along the U.S. coastline, Tribes and stakeholders

have raised concerns regarding the transparency and inclusivity of BOEM’s typical planning

process for offshore wind. These questions remain unanswered.

C.     Oregon Offshore Wind Development

       62.       BOEM has proposed private offshore wind energy development on approximately

194,995 acres offshore southern Oregon with their closest points to shore ranging from

approximately 18–32 miles in and water depths of 1,860–5,023 feet. EA at 5. The two areas for

development are referred to as the Coos Bay Wind Energy Area (“WEA”) and the Brookings

WEA and are depicted below. The Coos Bay WEA is 61,204 acres and the Brookings WEA is

133,808 acres.




https://www.whitehouse.gov/briefing-room/statements-releases/2023/03/29/fact-sheet-biden-
harris-administration-continues-to-advance-american-offshore-wind-opportunities/.


COMPLAINT - 16
        Case 6:24-cv-01558-MC       Document 1      Filed 09/13/24   Page 17 of 29




       63.    The massive private development, as depicted below, could generate more than

3.1 gigawatts of power.




COMPLAINT - 17
           Case 6:24-cv-01558-MC       Document 1       Filed 09/13/24     Page 18 of 29




EA at 7.

         64.   The technology for this proposed offshore wind technology for deep water is still

in the development stages. Due to the significant depth of the ocean floor off the coast of

Oregon, it is not feasible to use proven fixed-bottom offshore wind platform technologies at most

sites.

         65.   Little information exists about the impacts of floating offshore wind energy

development on fish habitat, marine mammals, cultural resources, and the Ocean ecosystem in

the Pacific Ocean.

         66.   No current floating offshore wind energy facilities have been constructed or

operated on the Pacific coast of the United States.

         67.   BOEM’s WEAs are in areas that contain important fish habitat, marine mammal

migration routes, and contain viewsheds that are culturally significant to the Tribe.

         68.   BOEM is specifically proposing the development of floating wind farms (depicted

below), which are made up of wind turbines that are placed on floating structures and stabilized

by moorings and anchors, and by the way the design of the structure distributes the masses and

weights. Fixed or floating, a typical commercial-scale offshore wind farm consists of an inter-

array cable connecting the turbines to an offshore substation and an export cable connecting the


COMPLAINT - 18
        Case 6:24-cv-01558-MC          Document 1       Filed 09/13/24     Page 19 of 29




offshore substation to shore. Electrical cabling is used to transmit the generated power from the

turbines to an offshore or onshore substation, ensuring continuous energy transfer.




       69.     On the continental shelf, in-water trenching technologies can be used to bury the

cables for protection. However, it is an inappropriate method for installation in hard or rocky

bottoms. In these areas, cables may be laid on exposed seafloor and subsequently covered or

armored with some form of protection or brought to shore using horizontal directional drilling.

       70.     BOEM initiated its offshore wind development process in Oregon in 2022, when

it initiated a Call for Information and Nominations for two areas in Southern Oregon: Coos Bay

and Brookings. BOEM received 281 comments from Tribal nations, the general public, Federal,

State, and local agencies, the fishing industry, industry groups, developers, non-governmental

organizations, universities, and other stakeholders 89 Fed. Reg. 71398 (Sep. 3, 2024).

       71.     On August 15, 2023, BOEM announced a public comment period on the two draft

WEAs located offshore southern Oregon.




COMPLAINT - 19
         Case 6:24-cv-01558-MC          Document 1       Filed 09/13/24      Page 20 of 29




       72.     On May 1, 2024, BOEM initiated a 30-day public comment period, with a

subsequent 2-week extension, on the draft EA. EA at 7. BOEM received a total of 350 public

comments on the draft EA. EA at B-5.

       73.     On August 13, 2024, BOEM released the final EA and FONSI.

       74.     On August 29, 2024, the BOEM announced the FSN for offshore wind leasing

setting the auction date for October 15, 2024 in the two lease areas offshore Oregon and

qualifying five companies to participate in the sale. The FSN also contains information about the

lease areas, certain lease provisions and conditions, auction details, the lease form, criteria for

evaluating competing bids and procedures for lease award, appeals and lease execution. 89 Fed.

Reg. 71398 (Sep. 3, 2024).

       75.     BOEM has acknowledged that the EA, FONSI, and FSN were issued without

finalization of the NHPA Programmatic Agreement – “BOEM is consulting on a draft

Programmatic Agreement (PA) pursuant to 36 CFR § 800.14(b) to fulfill its obligations under

Section 106 of the NHPA for renewable energy activities on the OCS offshore Oregon. The PA

is still under consultation and BOEM returned the latest revised draft to the consulting parties for

their review on June 27, 2024.” EA at 95.

       76.     The scope of BOEM’s EA was limited to analyzing the impacts of the issuance of

leases and site characterization and site assessment activities and did not analyze the impacts of

any future construction and/or operation of wind energy facilities. EA at 5, 9.

       77.     BOEM received numerous comments, including comments from the Tribe,

requesting the scope of its analysis be expanded to consider ecological, cultural, seismic, and

other impacts associated with construction and operation of the wind energy facilities, including

impacts associated with cables that will extend to and through near shore and shoreline areas.




COMPLAINT - 20
          Case 6:24-cv-01558-MC        Document 1       Filed 09/13/24     Page 21 of 29




         78.   The Tribe and others also commented that this analysis should occur in a

comprehensive Environmental Impact Statement.

         79.   BOEM rejected this request narrowly defining the scope of its EA to “ “analyze

whether the issuance of leases and grants within the wind energy areas (WEAs) offshore Oregon

… would result in significant impacts on the environment.” EA at 5 (“[E]nvironmental analysis

focuses on the effects of site characterization and site assessment activities expected to occur

after the issuance of commercial wind energy leases.” Id.).

         80.   BOEM summarily dismissed consideration of the inevitable result of its action –

construction and operation – by stating, “An EA was selected for the Oregon leasing action and

is consistent with BOEM’s prior leasing actions offshore other states, because EAs are typically

conducted when a proposed action is expected to have less than significant environmental

impact.” EA at B-19.

         81.   The only “foreseeable” action identified by BOEM in the EA is “lease issuance to

be followed by site characterization and assessment activities on the OCS and state waters.” EA

at 10.

         82.   The Tribe and others commented that BOEM should analyze the cumulative

effects of all Pacific Coast offshore wind development, which include all sites identified as

potential lease areas.

         83.   BOEM rejected this request stating that a cumulative assessment would be

discussed and considered at some future date – “BOEM initiated a programmatic EIS of the five

wind leases offshore California in December 2024 and recommends that this process be

considered if Oregon leases are issued and as a topic for further coordination and discussion.”

EA at B-20




COMPLAINT - 21
        Case 6:24-cv-01558-MC              Document 1   Filed 09/13/24     Page 22 of 29




       84.     The Tribe and others requested that BOEM consider additional alternatives in its

EA. In its March 15, 2024 scoping comments, the Tribe requested that BOEM consider

alternatives that exclude entire or substantial portions of the Coos Bay WEA to address adverse

impacts to sensitive ocean ecosystems and traditional cultural areas, features, or resources, via

avoidance and mitigation. The Environmental Protection Agency recommended in Scoping

comments that the draft EA include a Fisheries Habitat Impact Minimization alternative to

determine whether portions of the potential lease area should be avoided due to impacts to

bottom habitat. The Oregon Department of Fish and Wildlife recommended that BOEM

consider an alternative that excludes areas that contain sensitive and important habitats. The

National Oceanic and Atmospheric Administration requested the development of an alternative

that would exclude “sensitive and irreplaceable living (and non-living) habitat features.” The

Pacific Fishery Management Council requested that “areas of importance to habitats, fishing, and

the broader ecosystem” be excluded from the future lease areas.

       85.     BOEM rejected these requests of the EA only contained BOEM’s preferred

alternative and a no-action alternative.

       86.     The EA failed to contain a substantive discussion of why other alternatives were

dismissed from consideration, simply stating, “Because the Proposed Action would not result in

the approval of a wind energy facility and is expected to result only in site assessment and site

characterization activities, BOEM has not identified any additional action alternatives that could

entail meaningful differences in impacts on resources analyzed. in this EA.” EA at 8-9.




COMPLAINT - 22
         Case 6:24-cv-01558-MC          Document 1        Filed 09/13/24   Page 23 of 29




       87.     BOEM also failed to consider impacts associated with the actions specifically

authorized by the EA, FONSI, and FSN. For example, the EA fails to fully consider the impacts

of site characterization for the siting of subsea cable corridors.

       88.     The EA states, “Under the Proposed Action, BOEM would potentially issue

leases that could cover the entirety of the WEAs, issue easements associated with each

lease, and issue grants for subsea cable corridors and associated offshore collector/converter

platforms. The potential ROWs, RUEs, and easements would all be within the Oregon OCS and

could include corridors extending from the OCS through state waters to the onshore energy

grid.” EA at 7.

       88.     The EA estimates that areas of disturbance from bottom sampling could occur

along potential offshore export cable corridors and acknowledges the potential impacts from site

assessment of subsea cable corridors. However, there is no further discussion of how those

impacts are insignificant.

       89.     BOEM further to properly assess other impacts associated with the site

assessment and characterization activities including impacts associated with sonar use to marine

mammals.

                                     CLAIMS FOR RELIEF

                            FIRST CLAIM FOR RELIEF
                             NEPA and APA Violations:
       Unlawfully Narrow Purpose and Need and Unreasonable Range of Alternative

       90.     Plaintiff realleges and incorporates the allegations of all the preceding paragraphs

of this Complaint.

       91.     This First Claim for Relief challenges BOEM’s violations of NEPA and

implementing regulations in approving the EA, FONSI, and FSN based on an unreasonably




COMPLAINT - 23
        Case 6:24-cv-01558-MC           Document 1       Filed 09/13/24     Page 24 of 29




narrow purpose and need statement and range of alternatives. Plaintiff brings this claim pursuant

to the judicial review provisions of the APA, 5 U.S.C. § 706.

       92.       BOEM violated NEPA because the EA failed to analyze reasonable alternatives to

the proposed action, including alternatives identified by the Tribe, other agencies, and the public

that would have reduced environmental impacts. Instead, the EA simply analyzed two

alternatives without providing any meaningful rationale for excluding other alternative from

consideration.

       93.       BOEM selected an unreasonable range of alternatives, in part, due to the EA’s

impermissibly narrow purpose and need and determination to analyze only two alternatives that

lacked adequate explanation or justification. This is contrary to NEPA and its implementing

regulations.

       94.       Accordingly, the EA, FONSI, and FSN are arbitrary, capricious, an abuse of

discretion, not in accordance with law under NEPA and the APA, and cause or threaten serious

prejudice and injury to the rights and interests of Plaintiff and its members and must be set aside

and vacated pursuant to the APA, 5 U.S.C. § 706.

                                 SECOND CLAIM FOR RELIEF
                                   NEPA and APA Violations:
                                  Failure to Take a “Hard Look”

       95.       Plaintiff realleges and incorporates by reference all preceding paragraphs.

       96.       This Second Claim for Relief challenges BOEM’s violations of NEPA and

implementing regulations in approving the FONSI and FSN based on the failure of the EA to

take a “hard look” at potential impacts as required by NEPA. Plaintiff brings this claim pursuant

to the judicial review provisions of the APA, 5 U.S.C. § 706.

       97.       The EA, FONSI, and FSN are based upon unsupported assumptions, errors, and




COMPLAINT - 24
        Case 6:24-cv-01558-MC          Document 1        Filed 09/13/24     Page 25 of 29




omissions; inaccurate and incomplete analysis; and an inaccurate and incomplete baseline of

environmental conditions and resources. As a result of these and other issues, the EA did not

fully and appropriately assess and disclose the impacts of the alternatives; did not analyze direct,

indirect, and cumulative impacts of the alternatives, including past, present, and reasonably

foreseeable future actions; and did not rely on high-quality information.

       98.     The EA, FONSI, and FSN failed to take a hard look at the impacts to the

environment from private offshore wind energy development, including impacts from

construction and operation of wind energy facilities, impacts associated with cables and

transmission infrastructure, aquatic resources, seismic effects, environmental justice, cultural

resources, natural viewscapes, and cumulative effects.

       99.     By segmenting their offshore wind program and analyzing the environmental

impacts of the project in isolation, BOEM          unlawfully fail to analyze and consider the

cumulative environmental impacts of the other multiple offshore wind projects that BOEM has

approved or is considering for approval.

       100.    BOEM also failed to take a “hard look” at impacts associated with the site

characterization and assessment work authorized by its actions.

       101.    Accordingly, the EA, FONSI, and FSN are arbitrary, capricious, an abuse of

discretion, not in accordance with law under NEPA and the APA, and cause or threaten serious

prejudice and injury to the rights and interests of Plaintiff and its members and must be set aside

and vacated pursuant to the APA, 5 U.S.C. § 706.




COMPLAINT - 25
        Case 6:24-cv-01558-MC          Document 1      Filed 09/13/24     Page 26 of 29




                                THIRD CLAIM FOR RELIEF
                                  NEPA and APA Violations:
                         Biased and Prejudged Political Determination

       102.    Plaintiff realleges and incorporates by reference all preceding paragraphs.

       103.    This Third Claim for Relief challenges BOEM’s violations of NEPA and

implementing regulations in approving the EA, FONSI, and FSN because BOEM made a biased

and prejudged political decision to adopted its preferred alternative. Plaintiff brings this claim

pursuant to the judicial review provisions of the APA, 5 U.S.C. § 706.

       104.    The EA, FONSI, and FSN are based upon a predetermined political decision.

       105.    Because of the biased and prejudged political decision, BOEM did not seriously

consider public comments and performed mere pro forma compliance with NEPA.

       106.    The biased and prejudged political decision failed to conduct a NEPA analysis

with good faith objectivity, committed BOEM to a certain outcome before the conclusion of the

NEPA process, and/or amounted to an irreversible and irretrievable commitment by BOEM to its

preferred alternative.

       107.    Accordingly, the EA, FONSI, and FSN are arbitrary, capricious, an abuse of

discretion, not in accordance with law under NEPA and the APA, and cause or threaten serious

prejudice and injury to the rights and interests of Plaintiff and its members and must be set aside

and vacated pursuant to the APA, 5 U.S.C. § 706.

                               FOURTH CLAIM FOR RELIEF
                                 NEPA and APA Violations:
                   Failure to Complete an Environmental Impact Statement

       108.    Plaintiff realleges and incorporates by reference all preceding paragraphs.

       109.    This Fourth Claim for Relief challenges BOEM’s violations of NEPA and




COMPLAINT - 26
        Case 6:24-cv-01558-MC          Document 1      Filed 09/13/24    Page 27 of 29




implementing regulations in failing to complete an Environmental Impact Statement as required

by NEPA. Plaintiff brings this claim pursuant to the judicial review provisions of the APA, 5

U.S.C. § 706.

       110.     Determining the significance of an action in an EA or elsewhere requires the

agency to consider the “context” and “intensity” of the impact by evaluating factors enumerated

at 40 C.F.R. § 1501.3, including the unique characteristics of the geographic area such as

proximity to historic or cultural resources, park lands, prime farmlands, wetlands, wild and

scenic rivers, or ecologically critical areas; the degree to which the potential effects on the

human environment are highly uncertain; and the degree to which the action may adversely

affect communities with environmental justice concerns.

       111.     BOEM’s decision to proceed with the FSN implicates unique ocean ecosystems

and cultural resources, involves unknown and uncertain risk, and impacts the interests of the

Tribe (a community with environmental justice concerns). Moreover, by failing to consider

other known actions cumulatively and by failing to consider reasonably foreseeable future

actions, BOEM failed to properly access to degree of impact associated with its actions.

       112.     BOEM was required to prepare an EIS before proceeding with issuing the FSN.

       113.     By issuing an inadequate EA and FONSI instead of preparing an EIS, BOEM

acted in an arbitrary, capricious, an abuse of discretion, not in accordance with law under NEPA

and the APA, and cause or threaten serious prejudice and injury to the rights and interests of

Plaintiff and its members, and its decision must be set aside and vacated pursuant to the APA, 5

U.S.C. § 706.




COMPLAINT - 27
        Case 6:24-cv-01558-MC          Document 1      Filed 09/13/24    Page 28 of 29




                               FIFTH CLAIM FOR RELIEF
                                 NHPA and APA Violations:
                        Failure to Finalize Programmatic Agreement

       114.   Plaintiff realleges and incorporates by reference all preceding paragraphs

       115.   This NHPA Claim for Relief challenges BOEM’s violations of NHPA and

implementing regulations in failing to comply with the requirements of the NHPA prior to the

issuance of the EA, FONSI, and FSN. Plaintiff brings this claim pursuant to the judicial review

provisions of the APA, 5 U.S.C. § 706.

       116.   The NHPA requires the completion of the substantive and procedural

requirements of the NHPA prior to the issuance of an agency decision.

       117.   BOEM has acknowledged that it did not finalize the Programmatic Agreement for

its project prior to the issuance of the EA, FONSI, and FSN.

       118.   By issuing the EA, FONSI, and FSN without the finalization of the Programmatic

Agreement, BOEM acted in an arbitrary, capricious, an abuse of discretion, not in accordance

with law under NHPA and the APA, and cause or threaten serious prejudice and injury to the

rights and interests of Plaintiff and its members, and its decision must be set aside and vacated

pursuant to the APA, 5 U.S.C. § 706.

                                   PRAYER FOR RELIEF

WHEREFORE, Tribe respectfully requests the following relief:

       1.     Adjudge and declare that the EA, FONSI, and FSN violate NEPA, NHPA, and the

APA under any or all of the Claims for Relief above;

       3.     Vacate, reverse, set aside, and/or rescind the EA, FONSI, and FSN violate NEPA,

NHPA, and the APA;




COMPLAINT - 28
         Case 6:24-cv-01558-MC          Document 1      Filed 09/13/24     Page 29 of 29




       4.      Award the Tribe its reasonable fees, costs, expenses, and disbursements, including

attorneys’ fees, associated with this litigation; and

       5.      Grant the Tribe such additional or different relief as it deems just and proper.

               Dated the 13th day of September 2024.


                                       s/Rick Eichstaedt
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COMPLAINT - 29
